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            9
                   Attorneys for Plaintiffs
          10       WHATSAPP INC. and FACEBOOK, INC.

          11
                                                 UNITED STATES DISTRICT COURT
          12
                                             NORTHERN DISTRICT OF CALIFORNIA
          13

          14
                   WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
          15       and FACEBOOK, INC., a Delaware
                   corporation,                                   DECLARATION OF JOSEPH D. MORNIN IN
          16                                                      SUPPORT OF PLAINTIFFS’ OPPOSITION
                                                                  TO DEFENDANTS’ APPLICATION TO SET
          17                       Plaintiffs,                    ASIDE DEFAULT AND TO ENLARGE TIME
                                                                  TO FILE RESPONSIVE PLEADING TO
          18             v.                                       COMPLAINT AND CROSS-MOTION TO
                                                                  AUTHORIZE ALTERNATIVE SERVICE
          19       NSO GROUP TECHNOLOGIES LIMITED                 PURSUANT TO FEDERAL RULE OF CIVIL
                   and Q CYBER TECHNOLOGIES LIMITED,              PROCEDURE 4(F)(3)
          20
                                   Defendants.                    Date:      April 16, 2020
          21                                                      Time:      1:30 p.m.
                                                                  Courtroom: E, 15th Floor
          22                                                      Judge:     Hon. Jacqueline S. Corley

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  COOLEY LLP
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ATTORNEYS AT LAW
 SAN FRANCISCO
                                                             1.                       CASE NO. 3:19-CV-07123-JSC
                        Case 4:19-cv-07123-PJH Document 29-1 Filed 03/09/20 Page 2 of 3



            1             I, Joseph D. Mornin, declare:

            2             1.      I am an attorney with the law firm of Cooley LLP and counsel for Plaintiffs

            3      WhatsApp Inc. and Facebook, Inc. in this matter. The information in this declaration is based on my

            4      personal knowledge of this matter and information I obtained following a reasonable investigation of

            5      the events described below. If called as a witness, I could competently testify to the truth of each

            6      statement.

            7             2.      On March 3, 2020, Plaintiffs’ counsel received a letter (via email) from Defendants’

            8      counsel regarding the status of service in Plaintiffs’ application for entry of default. A true and

            9      correct copy of that letter and its enclosure are attached as Exhibit 1. Prior to this date, neither

          10       Plaintiffs nor Plaintiffs’ counsel in this matter had received notice of any correspondence from the

          11       Central Authority.

          12              3.      Following an investigation on March 3–6, 2020, I learned that attorneys at the law

          13       firm of Fischer, Behar, Chen, Well, Orion & Co. (“FBC”) in Israel received a letter from the Central

          14       Authority on February 25, 2020, identifying purported deficiencies in Plaintiffs’ application for

          15       Hague service. I further learned that on the same day, attorneys at FBC forwarded that letter by

          16       email to another U.S. law firm. Attorneys from that law firm represent Plaintiffs in various matters,

          17       but no attorneys from that law firm represent Plaintiffs in connection with this litigation.

          18              4.      I further learned that, due to an administrative oversight, an attorney at that U.S. law

          19       firm did not realize he had received this message from FBC. As such, he did not forward it to or

          20       otherwise share its contents with Plaintiffs or Plaintiffs’ counsel in this matter.

          21              5.      Plaintiffs and Plaintiffs’ counsel in this litigation did not become aware of the Central

          22       Authority’s correspondence to Plaintiffs’ Hague service application until Defendants’ counsel raised

          23       these issues in their letter of March 3, 2020.

          24              6.      On March 7, 2020, Defendants issued a public statement contesting the validity of

          25       entry of default in this case. A true and correct copy of that statement is attached as Exhibit 2.

          26              7.      On March 8, 2020, I caused to be downloaded ECF No. 976 in the case In re Nexium

          27       (Esomeprazole Magnesium) Antitrust Litigation, No. 1:12-md-02409-WGY (D. Mass. Sept. 3,

          28       2014). A true and correct copy of that document is attached as Exhibit 3.
  COOLEY LLP
                                                                                                             MORNIN DECL.
ATTORNEYS AT LAW
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                                                                     2.                         CASE NO. 3:19-CV-07123-JSC
                        Case 4:19-cv-07123-PJH Document 29-1 Filed 03/09/20 Page 3 of 3



            1             8.      Plaintiffs have not yet received the formal certificate of Hague service from the

            2      Central Authority in Israel.

            3             9.      Plaintiffs are continuing to communicate with the Central Authority regarding its

            4      application for Hague service and the issuance of the formal certificate of Hague service.

            5             I declare under penalty of perjury that the foregoing is true and correct. Executed on March

            6      9, 2020, at San Francisco, California.

            7                                                     /s/ Joseph D. Mornin
                                                                 Joseph D. Mornin
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  COOLEY LLP
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